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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                     ABINGDON DIVISION

  UNITED STATES OF AMERICA                             :      Case No. 1:18-CR-25
                                                       :      Defendant #5
  v.                                                   :
                                                       :
  ANDREA NICOLE STICKEL                                :

   NOTICE OF POTENTIAL UPWARD DEPARTURE UNDER U.S.S.G. § 3B1.1, NOTE 2
           (MANAGEMENT OF PROPERTY, ASSETS, OR ACTIVITIES)

         Defendant recently filed a motion for downward departure. She also previously objected

  to her +2-point enhancement as an organizer, leader, manager, or supervisor under U.S.S.G.

  § 3B1.1(c). The probation office stood by the enhancement, and the Government intends to argue

  in favor of its conclusion.

         But, should the Court disagree, the Government hereby gives notice that the same facts

  underpinning the § 3B1.1(c) enhancement may, alternatively, support an upward departure under

  note 2 of § 3B1.1, for those with management responsibility over property, assets, or activities of

  a criminal enterprise. See United States v. Kellam, 568 F.3d 125, 147 (4th Cir. 2009).

                                               Respectfully submitted,

                                               THOMAS T. CULLEN
                                               United States Attorney

                                               /s/ S. Cagle Juhan
                                               District of Columbia Bar No: 1022935
                                               Assistant United States Attorney
                                               U.S. Attorney’s Office
                                               180 West Main Street, Suite B19
                                               Abingdon, Virginia 24210
                                               276-628-4161
                                               276-628-7399 (fax)
                                               E-Mail:USAVAW.ECFAbingdon@usdoj.gov




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                                   CERTIFICATE OF SERVICE


         I hereby certify that on July 31, 2019, I caused the foregoing to be electronically filed with

  the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

  counsel for defendant.



                                                        s/ S. Cagle Juhan
                                                        Assistant United States Attorney




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